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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                MIAMI DIVISION


      ALEKSEJ GUBAREV,
      XBT HOLDINGS S.A., and
      WEBZILLA, INC.                                                         Case No.
                                                                         0:17-cv-60426-UU
           Plaintiffs,

      v.

      BUZZFEED, INC. and
      BEN SMITH

           Defendants.


                            DECLARATION OF KOSTYANTYN BEZRUCHENKO

     I, Kostyantyn Bezruchenko, do declare and state as follows:

              1.         My name is Kostyantyn Bezruchenko. I am over the age of 18 years. This

     declaration is based on my personal knowledge and my review of Webzilla, Inc. (“Webzilla”)

     and XBT Holdings S.A.’s (“XBT”) business records. All statements contained in this

     declaration are true and correct to the best of my knowledge, if called as a witness, I could and

     would testify as to the facts set forth in this declaration.

              2.         I am a Director of Webzilla and the Chief Technical Officer of XBT.

              3.         Webzilla is a wholly-owned subsidiary of XBT through an intermediary company

     XBT Holding Ltd.

              4.         Since 2009, Webzilla has engaged Constantin Luchian as its Financial Director in

     Florida. During that time, Mr. Luchian has maintained offices in Florida on behalf of (and at the

     request of) Webzilla and other members of the XBT family of companies.

              5.         In the past, Webzilla has engaged other personnel based in Florida, including

     Konstantin Bolotin, who was Webzilla’s director of operations through 2013.
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            6.      Webzilla is incorporated in Florida.

            7.      The XBT family includes at least two other companies incorporated in Florida:

     Dedicated Servers Inc. and IP Transit Inc.

            8.      The map of Webzilla’s network located on its website, a copy of which is

     attached hereto as Exhibit 1, is neither a complete map of Webzilla’s operations nor does it

     accurately describe how those operations are owned and operated.

            9.      First, the Map sets forth the network for the entire XBT family, not just those

     portions of the network owned or operated by Webzilla.

            10.     For instance, the “Network POP” shown in New York is owned and operated by

     IP Transit, Inc. not Webzilla.

            11.     More importantly, the map is not intended to show physical offices for Webzilla

     or XBT, but instead the map shows locations of servers and other networking equipment used by

     those companies.

            12.     For example, IP Transit, Inc’s Network POP in New York (shown on the map) is

     little more than some networking equipment installed in rented rack space in a hosting center

     operated by an unrelated company.

            13.     The Network POPs shown in Palo Alto, Los Angeles, Chicago and Ashburn are

     similarly owned and operated by IP Transit, Inc. and similarly constitute networking equipment

     installed in a rented rack space in a hosting center operated by an unrelated company.

            14.     The map does not take into account offices and physical locations of Webzilla and

     the XBT family around the world, except to the extent that those offices also contain networking

     equipment.

            15.     Specifically, the map does not take into account Webzilla’s physical presence in

     Florida.

            16.     As another example, the map also does not show XBT’s corporate offices in the

     Republic of Cyprus, where the XBT family has over 70 staff members.
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            17.    Any claim that the map represents Webzilla’s or XBT’s physical office locations

     would simply be incorrect.
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     Signed under the pains and penalties of perjury this 27th day of March, 2017.



                                                         ________________________________
                                                         Kostyantyn Bezruchenko
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                                Exhibit
                                  1
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